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                                               IN THE UNITED STATES DISTRICT co@
                                                                                                                                    ~;- FILED
                                               FOR TH.E MIDDL.E DISTRICT OF GEOR~:                                                            MAY 12 2020
                                                    \J ~l J) u.f T ~   DIVISION · .
                                                                                                                                        UNITED STATES DISTRICT COURT
                                                                                                                                         MIDDLE DISTRICT OF GEORGIA
                                   QUESTIONNAIRE FOR THE PRISONERS PROCEEDING
                                            PRO SE UNDER 42 U.S.C. § 1983

W/1-f Effv\ 1)~ kGfl;if90lJ73
                   '




 (GIVE FULL NAME AND PRISON NUMBER OF PLAINTIFF)

                                                                                                        CIVIL ACTION NO:
                                                     Plaintiff

                                        VS.
                                                                                                                        -       .
                                                                                                                                .
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 a "1\'.)    l:> Afl A0, ~ P Us                 e,I ~
 (NAME OF EACH DEFENDANT)


                                                     Defendant(s)


                                                              I. GENERAL INFORMATION

 1. Your full name and prison number                                    W fr SE:"--:"f\/\ -~ A((ff\ ,ir9 D/3 73
 2. Name and location of prison where you are !!ill! confined                                                    ,J ~l.b GSf ~ S', l\TC ~"-- rl["u tJ
 3. Sentence you are now serving (how long?) l,tft" fllS 'f},                                                           5 YC-(\{lS
              (a) What were you convicted of? M u{\J!) ~J\.., fi\Jl\p' t f)f\.Y, fr,l-r(: 1'1½ ~ k!J4Nl'vff ,v'( i
            (\ ({;/\-/\\JC'\ if A     (\ ATT0\r, (I\.T/\/\ -r~ (I l /lttcM ll,                     1°\) (   QA,r\Jl-a-1' rCuf1Jll/f\1((J J'; ti<..K-:r~(
              (b) Name and location of court which imposed sentence(u8.B (QVl\/fY-A/fJEA.~6fl..,                                                                       </Jv/\..'i,
             1a       H"~ i-J4 r-r/\,                    /v\ t1/\-.J"f°1rf\, (4 3 Du9' o
              (c) When was sentence imposed?....;.l_0...:../_(...;./_1--_D_(_L_ _ _ _ _ _ _ _ _ _ _ _ __
              (d) Did you appeal your sentence and/or conviction?                                                              YesllJI              No    D
              (e) What was the result of your appeal?.....,Au.[[....;.,....;.t:.:.fvv\_~~;..;1)::.,,,i1-.MJ)-'-duk.;;..~~~A....::.....;\J;;...•-f_,....:.rn.:..:.....;.~.,_,_ _ __
              70(.) Co,                  e~/ 7 }L- ~~d                         3~l, ("L«6.)

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           (f) Approxima te date your sentence will be completed                           l-:f~- (--r{j A
                                                                                          ----       ---- ---- --
                                                  11. PREVIOU S LAWSUIT S
NOTE: FAILURE TO DISCLOSE ALL PRIOR CIVIL CASES MAY RESULT IN THE DISMISSAL OF THIS
CASE. IF YOU ARE UNSURE OF ANY PRIOR CASES YOU HA VE FILED, THAT FACT MUST BE
DISCLOSED AS WELL.

4. Other than an appeal of your conviction or sentence, and other than any habeas action, have you
filed a lawsuit dealing with the same or similar facts or issues that are involved in this action?
         Yes- ~ N o O
5. If your answer to question 4 is "Yes," list that lawsuit below, giving the following information:
                                                                                              GIVING THE SAME INFORMATION FOR
(IF YOU HAVE FILED MORE THAN ONE LAWSUIT, LIST OTHER LAWSUITS ON A SEP ARA TE SHEET OF PAPER,
EACH)

   (a) Parties to the previous lawsuit INVOLVIN G SAME FACTS:
           Plaintiff(s):         WC\S~, M Od\( 0\_




   (b) Name of Court:              ('--y1·v ,h l ("" I'.)i'SJ/\.. re,-    0   t t~J\.- u-r-d
   (c) Docket Number:S" : t 9-{'J -                !1-- 6      When did you file this lawsuit?   ~ 7 /1..ol    e      3
    (d) Nameofju dgeassign edtocase:                     1\111}/l(       rNo"-1/JJ" rt\.rd.~l,AJ2{_,l
    (e) Is this case still pending?                   Yes~ No                 D
    (f) If your answer to (e) is "No", when was it disposed of and what were the results?
            (DID YOU WIN? WAS THE CASE DISMISSED? DID YOU APPEAL?)

          1ltf" c0)(\.,-1'        ff\--2:!:, M'2" f'l     1   n    2'"   rll ~ cur,           J -(f\J A   ~~/lo,\T L~v-lJv-r- 1
            bu c.1, nuc. l ~ \ wl'JtcH           !l ~tvL !\JO
                                                         1:'      Afv\
6.  Other than an appeal of your conviction or sentence, and ~CJ, than any habeas action, have you
ever filed any lawsuit while incarcerate d or detained?                               Yes~ No      D
7. If your answer to question 6 is "Yes," list that lawsuit below, giving the following informatio n:
                                                                                             GIVING THE        SAME INFORMATlq~ FOR
(IF YOU HA "t'E FILE~MORE THAN ON_Ey\ WSUIT~ST OTHER LAWSUITS ON A SjPARA TE SHEET OF PAPER,
            I ~".:-c-
                    r·t'(i?t) Ml'I\Jf   ~t)..-p,'\L
                                                 fl.,No   J'T/\T~lt11.rJ..         M~Nr ;o /t01Af714~S'- U/ 1~ Lr.r,
                                                                          fVt"'fS..1TUV
EACH)1:
        ~\;r_f\Ll.      oF/v\.Y F?tl(l\_{\l rnS'~ Al\:; ov Pf..(~. Pl~/\.f2"-..f8" ~('i(i?'f\,GoV       /Ill~)'/      re/'-
            (aJ          Parties to the previous    1awsuh:    ~fJ ~~ L L/lhi..J {VJ"'tS

                        Plaintiff(s):     W d..S- ~~ DA((~                       J


                        Defendant( s):     CJ\.-(rG()f\.-y      t)   &\..::r,7n TTiv\tl11Y Wtl/\--0 f:" AL
            (b)                            rn u cc-- j) Ts ?1\_T"C'""i" <f r c-~ul'--C<IJ
                        Name of Court: {'-.,
            (c)         DocketNu mber:.f': l ~-c-J- 3 6s Whendidy oufilethis lawsuit? / (u Ml 3
            (d)         Name of judge assigned to case:                  M ()fl-.(_   T/J UM{\   s    rl'- ~
     l} (e)             Is this case still pending?               Yes                No   •
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           (f)      If your answer to (e) is "No", when was it disposed of and what were the results?
           (DID YOll WIN? WAS THE CASE DISMISSED? DID YOU APPEAL?)




   ~ NJ~ M1          r, ('!-?                    ~
                                 l ~wJ'\.-r rs. i._('r,J::- s~       ~ ()er    or
                                                                             t''i'S                                 oc::
                                                                                       f\,J L\'V.,J _, (t;Qg_J /vi \JN (\,
     ~ \.i "" -S'.,, r nlttJ l\ LI , 41\JO ,\I\ t\ cc;~ UAJ/\J fY Jvl4 Q ,(;f-v <Ov ~t
8. AS TO ANY LAWSUIT FILED IN ANY FEDERAL COURT in which you were permitted to
proceed in forma pauperis, was any suit dismissed on the ground that it was frivolous, malicious, or
failed to state a claim?                Yes~           No   D
                    If your answer is Yes, state the name of the court and docket number as to each case:
                   1..'. I ~Jc V,~ 15 (< (1L'l'f\
                                     e
                   s-: {s, c✓. e c/1.,. 1, c~ .'\ A, r0f"0l ~~I\KJ "t'tvtJ
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                                                       1

                   ('.( ~-( v -~ '1 YS fJ,O. 6,0,,Af'l{C\l f~"l'vG
                    -(N-a~ M"~ Bf' vru0\-s-J..n~, :t' OUt'Jt ~~t!i'tvdSc1'-                  ~t'- "'1Y    c(l~.J

                   \AU:(\{G' (\J::-c\L t nU-f\., TI 9~ Sv/\...Z
                                III. PLACE OF INCIDENT COMPLAIN ED ABOUT
9. Where did the matters you complain about in this lawsuit take place?                  (6.J-.UJ'o S rtTf'° YflJ'vu,J;
   fV\(\   co~ s'°Vt'T~ -P f\..-(("o/\1   _)\?~ LhWl'I\I Jtr~ l'/\..-f'/L1J1 V~ L.b6S 111    S"""·n~ ¥~~SJ tJ
           (a) Does this institution have a grievance procedure?                   Yes~          NoO

           (b) If your answer to question 9(a) is "Yes", answer the following:
                    (1) Did you present your complaint(s) herein to the institution as a grievance?
                             Yes~               NoO
                     (2) If Yes, what was the result?-::C Ffl€!:> {f...~1/f'r',/C(..f< 0NC.Lvb1'1\/L     f[l.3-3U 7,
                                                                                                                     '
                    {tZ 9 o 95 6, ;tf1., 95 77 5' '-'\JN:roJ ~71' 2 0 C-"1".IT' 0,


                     (3) If No, explain why not:1ij(="" Cuc. Cf\-'.ICV('--k~ P/t.-()(c!J\A( ts O SIJ l\(\,f,,
                    ll E~ DJ (:!'Jb    IOl\,KZ!) vi\_~ vv/ 0 ffs-( rOL s ((),.JS-:i--_s},7r.JrlY VAiW-rusNt
                    o~ vr:J/1,Rl€ T~           flJ\o\J-roC? (Lfl'CC'F, ~l\b    fl l\1JBBG\-5T~l\i ~
                     r:>(Loc {-.:O v/L;;,




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        (c) What, if anything else, did you do or attempt to do to bring your complaint(s) to the
attention of prison officials? Give dates and places and the names of                      rsons talked to.
    l (°rs-S    s-«· .   tT(\( -::-1)         .,Jf/
                                         f~ 5"_. \G (' G('s                 7 _, Y ()


        (d) Did you appeal any denial of your grievance to the highest level possible in the prison
         system?               Yes0'          No   D
                    (1) If Yes, to whom did you appeal and what was the result?                1' (\P{J~fl L(l) /ILL
                    r~R.E'~/    I\ v\b t,Ll. w 8'--.C"   -.D    C--,-J-:rC:D .

                    (2) If No, explain why you did not appeal: fUv           6~ ( 0-:StU r,,Jc /J(L {}(2JJl. (
                                                                                                      t~


                1'~ A     ~H~M, (LvaR ~/\Sf~/\'\ )1., ~cfl u--cl\lb                      v,,
                                                                             Pf\-.oc;.n ~ vv/ or-r:rtsr, Lt
                    c(.)('Lr~fT,~t {'y \J ✓   ~n le- OJ\._ UN ~LL rt\,(;         TV ~ /\..Q VTD-r:z   ~-;:-~P.
10. In what other institutions have been confined? Give dates of entry and exit.
coB ~ t l,U'\l1-V   t\hU-r   D\:~.JT"'v..J cf/\JW/\                     {fl~ /'Ld     u- ( o/ J&uJL



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V(\lt\()J tn .s- tl'~ ~t-•<"\) 1 IV. PARTIES TO THIS LAWSUIT {L/1--o/1..D/ 8 ' "4 ~2.r{"l\)T
11. List your CURRENT place of incarceration/mailing address.                                              .   J
wd~'(fM                 ]A k.21\ 1t9 Iv{] )3 V/ll~ %TA 1 S1(\T[· /JA-Jf"O/'



12. List the full name, the official position, and the place of employment of each defendant in this
lawsuit.   (ATTACH ADDITIONAL PAGES IF NECESSARY)

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                                                           (Y)
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                                      V. STATEMENT OF CLAIM
13. In the space hereafter provided, and on separate sheets of paper if necessary, set forth your claims
and contentions against the defendant(s) you have named herein. Tell the court WHAT you contend
happened to you, WHEN the incident(s) you complain about occurred, WHERE the incident(s) took
place, HOW your constitutional rights were violated, and WHO violated them? Describe how each
defendant was involved, including the names of other persons who were also involved. If you have
more than one claim, number and set forth each claim SEPARATELY.
       DO NOT GIVE ANY LEGAL ARGUMENT OR CIT ANY CASES OR STATUTES AT THIS
TIME; if such is needed at a later time, the court will advise you of this and will afford you sufficient
time to make such arguments. KEEP IN MIND THAT RULES 8 OF THE FEDERAL RULES OF
CIVIL PROCEDURE REQUIRES THAT PLEADINGS BE SIMPLE, CONCISE, and DIRECT! If
the court needs additional information from you, you will be notified.


       WHERE did the incident you are complaining about occur? That is, at what institution or
institutions?   r;~(/\.-ur~ s.P   j   M{'lt)~   s; P. ,GoWvvr,-J s;- P, \[A w,~-rfl!S. P.
                                                                l c-u.i C_. TV f-'/l.~:.rt7VT ✓I)(', l'
       WHEN do you allege this incident took place? S"f'fj ("=AfBcA.-
       WHAThappened ?        ~((r,.S'C s-~{\l(r\LIJ:-- n S{J<:.(1s:(/J(\c.:;s- 7., Lf o)
       ~ l\J\ ll 0\ ~ ~~ 5   1..A -I 6 Y
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14. List the name and address of every person you believe was a WITNESS to the incident(s) you
complain about, BRIEFLY stating what you believe each person knows from having seen or heard
what happened. (USE AoomoNALSHEETs, IF NECESSARY>
      ~ lf(\.S-~     ~-?·    A'tiroJ,~h ~MD S, (11(Jic:: r 7-- 'f     Dj



15. BRIEFLY state exactly what you want the court to do for you. That is, what kind of relief are you
seeking in this lawsuit? Do not make any legal arguments and do not cite any cases or statutes!
(llSE ADDITIONAL SHEETS, IF NECESSARY)


~l\f~s<="1         j'~..[ (\iTnlH~D      S'~E""ct~   (~{)(~s    ""3   S--vD.,J




16.    You may attach additional pages if you wish to make any legal argument. However, legal
arguments are NOT required in order for you to obtain relief under §1983. If the court desires legal
argument from you, it will request it. If any defendant presents a legal argument, you will be afforded
an opportunity to respond thereto.
17. KEEP IN MIND THAT ONCE YOUR LAWSUIT IS FILED, THE COURT WILL REQUIRE
YOU TO DILIGENTLY PROSECUTE IT. That means that you will be required to go forward with
your case without delay. Thus, if you fail to adequately prepare your case before you file it, you may
find your lawsuit dismissed for failure to prosecute if you take no action once it is filed. YOU WILL
RECEIVE NO FURTHER INSTRUCTIONS FROM THE COURT TELLING YOU WHAT TO DO
OR HOW TO DO IT! IT IS YOUR RESPONSIBILITY AND YOURS ALONE TO PROSECUTE
YOUR OWN CASE! If you fail to prosecute your case, it will be dismissed under Rule 41 of the
Federal Rules of Civil Procedure.        ~ )1   /v1 l\ )I

         Signed this _J
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                                                                  A       PLAINTIFF
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